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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   :
                                            :
       v.                                   :       Criminal No. 21-cr-628-ABJ
                                            :
MICHAEL ANGELO RILEY,                       :
                                            :
                      Defendant.            :


                                           ORDER

       Upon consideration of the motion to dismiss Count One in this case, it is hereby:

ORDERED that Count One of the Indictment in this matter is dismissed without prejudice.



                             ___________________________________________
                             THE HONORABLE AMY BERMAN JACKSON
                             UNITED STATES DISTRICT JUDGE
